
On December 13, 1972 tbe court ordered that judgment for plaintiff be entered in the sum of $7,138.94 less $561.45, representing a reimbursement to defendant of a lump-sum annual leave payment to plaintiff following his separation for the net sum of $6,577.49, of which $1,582.05' is to be credited to plaintiff’s Civil Service Retirement Fund account, and the balance of $4,995.44 is to be paid to plaintiff. The court further ordered that plaintiff’s reinstatement as of July 24,1972 be in the grade and classification of GS-5, step 4, inventory management specialist-trainee, with a leave status at that time of 0 hours sick leave and 330 hours annual leave reflected on his record.
